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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


STUDENTS FOR FAIR ADMISSIONS,       )
INC.,                               )
2200 Wilson Blvd, Suite 102-13      )
Arlington, VA 22201,                )
                                    )
                    Plaintiff,      )
                                    )              Civil Action No. 16-cv-2154
v.                                  )
                                    )
U.S. DEPARTMENT OF EDUCATION, )
400 Maryland Avenue, SW,            )
Washington, D.C. 20202,             )
                                    )
                    Defendant.      )
____________________________________)

                       CORPORATE DISCLOSURE STATEMENT

       Pursuant to LCvR 7.1, Students for Fair Admissions, Inc. (“SFFA”) certifies the

following. SFFA is a non-profit corporation organized under the laws of Virginia. SFFA has no

parent corporation, and no publicly held corporation owns 10% or more of its stock.



                                                 Respectfully submitted,

                                                 By: /s/ J. Michael Connolly

                                                     J. Michael Connolly
                                                     D.C. Bar No. 995815
                                                     CONSOVOY MCCARTHY PARK PLLC
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                                                 Counsel for Plaintiff Students for Fair
Dated: October 27, 2016                          Admissions, Inc.
